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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

In re:                                                       Case No.: 19-bk-00200
                                                             Chapter 7
ALLEN W HARDEN
DARLA G HARDEN

Debtor.                        /


                      MOTION TO SELL REAL PROPERTY
           AND PAY SECURED CREDITORS AND TRANSACTIONAL COSTS
                              (4913 Chuluota)

                                NOTICE OF OPPORTUNITY TO
                             OBJECT AND REQUEST FOR HEARING

       Pursuant to Local Rule 2002-4, the Court will consider the relief requested in this paper
    without further notice or hearing unless a party in interest files an objection within twenty-
    one (21) days from the date set forth on the attached proof of service, plus an additional three
    days for service if any party was served by U.S. Mail.

        If you object to the relief requested in this paper, you must file your objection with the
    Clerk of the Court at 400 West Washington St, Suite 5100, Orlando, Florida 32801 and serve
    a copy on Arvind Mahendru, Esq., 5703 Red Bug Lake Rd. #284, Winter Springs Florida,
    32708 and any other appropriate persons within the time allowed. If you file and serve a
    response within the time permitted, the Court will either schedule and notify you of a hearing
    or consider the response and grant or deny the relief requested without a hearing.

        If you do not file a response within the time permitted, the Court will consider that you
    do not oppose the relief requested in the paper, will proceed to consider the paper without
    further notice and hearing, and may grant the relief requested.


         COMES NOW Dennis Kennedy, Chapter 7 Trustee, by and through his undersigned

counsel, and hereby moves for authority to sell certain improved real property free and clear of

all liens, encumbrances and interests, and in support thereof states as follows:




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                                   JURISDICTION

1. This Court has jurisdiction to consider this Motion pursuant to 28 U.S.C. §§ 157 and

   1334.This matter is a core proceeding within the meaning of 28 U.S.C. § 157(b) (2) (A),

   (M), (N) and (O).

2. Venue is proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.

3. The basis for the relief requested herein are, inter alia, 11 U.S.C. §§ 105, 363(b) and

   Federal Rules of Bankruptcy Procedure 2002 and 6004.

                                   BACKGROUND

4. On January 11, 2019, the Debtor filed this case for relief under Chapter 7 of the United

   States Bankruptcy Code.

5. Dennis Kennedy was appointed Chapter 7 trustee (the “Trustee”).

6. The Debtors own real property, by virtue of a deed, located at 4913 Chuluota, Orlando,
    Florida, more particularly known as:

  PICKETTS COVE 25/10 LOT 3 as recorded in property records of Orange County,
  Florida (the “Property”).

7. The Trustee completed a title search and found that the Property is encumbered by a

   mortgage lien. By priority, but not including any outstanding property taxes or

   municipal liens, the Property is encumbered as follows:

   Mortgage in favor of JP Morgan Chase recorded in Official Records Book 8048, Page 2506,
   which Mortgage is now held by U.S. Bank National Association, as Trustee, successor in
   interest to Wachovia Bank, National Association, as Trustee

   Junior Mortgage in favor of JP Morgan Chase recorded in Official Records Book 8421, Page
   1394

8. The Trustee has accepted an offer from Michael A. Hayden (the Buyer) to purchase this

   home in the amount of $410,000.00, as payment in full (subject to Court and Lienholder

   approval). The current offer was not the only offer on the property but is the highest




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        offer. Moreover, the estate believes it is a fair offer for the current economy and the

        length the property has remained on the market.

    9. Any real property taxes will be paid prorated.

    10. The sale price of $410,000.00, net the closing costs will not be enough to satisfy the

        outstanding lien of Select Portfolio Servicing as disclosed in the sale consent form

        attached as Exhibit A. The sales proceeds will not be enough to satisfy the outstanding

        lien of JP Morgan Chase as disclosed in the sale consent form attached as Exhibit B.

    11. The Trustee has attached a “DRAFT” Settlement Statement that outlines the proposed

        distribution of the sale proceeds at closing, as Exhibit “C.”

                                        AUTHORITY TO SELL

    12. Pursuant to § 363(b)(1) of the Bankruptcy Code, a trustee, after notice and hearing, may

        use, sell or lease property of the estate other than in the ordinary course of business.

                                             CONCLUSION

    13. The Trustee, in the exercise of his business judgment, believes, and therefore avers, that

        the proposed sale is in the best interest of the creditors of the bankruptcy estate insofar

        as there is otherwise no equity in the Property, the Trustee is more familiar with the

        current market than other interested parties, and a sale under this motion serves the best

        interest of all interested parties, including the Secured Creditors. The Buyer has agreed,

        subject to Court approval, to pay to the Trustee the sum of $410,000.00 in exchange for

        the Property free and clear of all liens, encumbrances, or interests.

   WHEREFORE, the Trustee moves for the entry of an Order substantially in the form

attached hereto:




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   A. Authorizing the sale of the Property to the purchaser free and clear of all liens,

       encumbrances, or interests of any party; and,

   B. Authorizing the Trustee to take any all actions and to execute any and all documents

       necessary and appropriate to effectuate and consummate the terms of said sale of the

       Property free and clear of all liens, encumbrances, or interests, including without

       limitation, executing a deed conveying the interests of the Debtor or any other party

       claiming an interest in the Property to the Purchaser;

   C. Authorizing the Trustee and any escrow agent upon the Trustee’s written instruction,

       shall be authorized to make such disbursements on or after the closing of the sale as are

       required by the purchase agreement or order of this Court, including, but not limited to,

       (a) all delinquent real property taxes and outstanding post-petition real property taxes pro

       rated as of the closing with respect to the real property included among the purchased

       assets (b) any outstanding Home Owner’s Association fee or assessment arrearages; and

       (c) other anticipated closing costs:

       Total Sales/Brokers Commission:
              2% to BK Global                                               $6,806.00
              2% to Commercial Home & Lands                                 $6,806.00
              2% to Century 21                                              $6,806.00

       Title Charges:                                                       $2,581.00
       Transfer Taxes:                                                      $2,879.00
       HOA Fees                                                             $1,708.00
       Other / Debits (incl. 506(c) surcharge)                              $25,060.62
       Satisfaction of Liens:
       SPS                    (home mortgage)                               $348,569.72
       Chase                  (Junior lien)                                 $6,000.00

       The above anticipated closing costs and taxes are subject to per diem charges, changes in

prorations, and otherwise represent approximate amounts. The Trustee seeks authority to pay




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these amounts, or their reasonable equivalent amounts, to the respective payees depending on the

subjective per diem alteration and other variable factors

   D. Waiving the 14-day waiting period pursuant to Rule 6004(h) and

   E. Granting the Trustee such other and further relief as is just and proper.



                                              Respectfully submitted,

                                              /s/ Arvind Mahendru
                                              Arvind Mahendru, Esq.
                                              5703 Red Bug Lake Rd. #284
                                              Winter Springs, FL 32708
                                              407-504-2462



                                     CERTIFICATE OF SERVICE

        I hereby certify that a copy of the foregoing has been served by U.S. Mail and/or
electronic delivery to all parties listed below this February 11, 2020:

Select Portfolio Servicing, Inc. c/o Popkin & Rosaler PA via ECF

Andrew Baron, Esq. via ECF

Via Certified Mail
JP Morgan Chase, 270 Park Avenue New York, NY 10017;Attn. President, Officer, Manager,
Managing Agent, where creditor routinely does business

and all parties on the attached mailing matrix


                                                     /s/ Arvind Mahendru
                                                     Arvind Mahendru




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